Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 1 of 14
Fill in this liltoiimticn lo identify your caso:

§_hrlstine S. Van

Debtol’ 1
Fi'st Nlme Mldd|o Nlrr\' Lllt Nlme

Debtor 2
(Sp°u&e. if filing) Fhr N\m¢

 

Mtddle Name Lalt Nrime

United States Benkruptcy Court for the: Westem District Of Michigan

U check if this is an

 

 

 

 

ifme 18_5330 amended filing
Ofi`icial Form 106E/F
12115

Schedule ElF: Creditors Who Have Unsecured Claims

Bo as complete and accurate as possib|e. Use Part 1 for creditors wlth PR|OR|TY claims and Part 2 for creditors with NONPR|ORITY ctaims.
List the other party to any executory contracts or unexpired leases that could result ln a claim. Also list executory contracts on Schedule
A/B: Propeny (Ofticial Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Ofncial Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

 

Part 1: List All of Yonr PR|OR|TY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

m Not Go to Part 2.

cl Yes.

2. List all of your priority unsecured claims. ita creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. |f a claim has both priority and nonprion`ty amounts, list that claim here and show both priority and
nonprion`ty amounts. As much as possible, list the claims in alphabetical order according to the creditors name. lf you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim priority Nonpriority
amount amount
2.1
p_ mo du f N Last4 digits of account number _ _ _ __ 5 $ $
110 IE 0 S Eme
When was the debt incurred?
Numi>er Streei
As of the date you file, the claim is: Check all that apply.
city state ziP code m C°mi"gem
_ 7 El unliquidated
Who incurred the debt. Check one_ m Disputed
Cl Debior 1 only
13 Debtor 2 only Type of PR|OR|TY unsecured claim:
g Debt°n and Debt°' 2 only |:l Domestic support obligations
At least one of me debtors and another n Taxes and certain other debts you owe the government
m check 'f cms dam '5 for a commumty debt E] Claims for death or personal injury while you were
ls the claim subject to offset? 'nt°X'°ated
n NO n Other. Specify
.."§'Yssv_, ~. ,, ,…,,, ,_
tz'z l Last 4 digits of account number _ __ __ _ 3 5 5
Priority Creditor‘s Name
When was the debt incurred?
Number Street
As of the date you fi|e, the claim is: Checl< all that apply
n Contingent
ciiy scale ziP code Cl unliquidated
Who incurred the debt? Cheok one. n Disputed
cl Debtor1 on
0 Debtorz on:; Type of PR|OR|TY unsecured claim:
E| Debior 1 and Debioi 2 only n D°mest'° supp°_" °b"ga“°"s
n At least one of the debtors and another g Taxes and certain other debts you owe the government
. , . . _ Claims for death or personal injury while you were
m Check rf this claim is for a community debt intoxicated
lEs|the claim subject to offset? n Other. Specify
No
a ¥es
Oii'ic'ial Form 'iDBEi'F scheme Ein creditors who iian unsecured claims page 1 dr ‘~4

Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 2 of 14

Christine S Van CBS€ numbet (lll¢liown) 18-5330

Fir\t Name Mtd¢e ermt Lnll Nlrrie

Vour PR|ORITV Un¢ocur¢d Claims - Contlnultlon Page
After listing any entries on this page, number them beginning wlth 2.3, followed by 2.4, end so torth. Total claim Priorlty Norrprlo\'"y

amount amount

Debtor 1

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number __ ___ _ __ $ 3 5
Prrority Cneditor`s Name
When was the debt lncurred?
Number street
As of the date you llle, the claim is: Check all that apply
l;l Contingent
co said zip code Cl unliquidated
ll] Dispuied
Who incurred the debt? Check one.
a Debtor 1 only Type of PR|OR|TY unsecured claim:
C] center 2 oniy _ . .
m Domestic support obligations
n Debtor 1 and Debtor 2 only .
m Taxes and certain other debts you owe the government
a At least one of the debtors and another . . . .
n Claims for death or personal injury while you were
Cl Check if this claim is for a community debt 'nt°x‘°ated
El omer. Speciry
ls the claim subject to offset?
n No
a Yes
Last4 digits of account number _ _ __ ___ $ $ $
Priority Creditol*s Narne
When was the debt incurred?
Numoer Sireei
As of the date you fi|e, the claim is: Check all that apply_
|;l Contingent
city state zlP code Cl Unliquidated
n Disputed
Who incurred the debt? Check one.
C| Debiom only Type of PR|OR|TY unsecured claim:
g Debtor 2 °n|y n Domestic support obligations
n Debtor 1 and Debtor 2 amy n Taxes and certain other debts you owe the government
At least one of the debtors and another n Claims for death or personal injury while you were
[;l Check if this claim is for a community debt 'm°x'cated
U Other. specify
ls the claim subject to oftset?
[;l No
',§!.Ye§.__i . . , . _ , l , a , , l ,,, , .
m Last 4 digits of account number __ _ _ __ 5 $ 5

 

 

Priority Creditors Name
When was the debt incurred?

 

 

 

Number Street
As of the date you fi|e, the claim is: Check all that apply.
n Contingent

city slate zii> code C| unliquidaied

n Disputed
Who incurred the debt? Check one.

n Debtor1 only Type of PR|OR|TY unsecured claim:

m Debfor 2 amy n Domestic support obligations

m named and Debtor 2 only m Taxes and certain other debts you owe the government

m At least one of me debtors and another a Claims for death or personal injury while you were
intoxicated

ij Check if this claim is for a community debt
n Other. Specify

 

ls the claim subject to offset?

0 No
a ‘(es

westernin Mmmuiw§vmmumuimmu<rihine M_ qr1_4

Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 3 of 14

beezer 1 Christine S. Van
th N\me Mlddo N¢mo Lut Nlmo

must AI| d ¥our N°NPR|°R|TV llncocund Clllms

Caae number annum 18'5330

 

3. Do any creditors have nonprlorlty unsecured claims against you?

No. Vou have nothing to report ln this part. Submlt this form to the court wlth your other schedules

l:l
m Yes

4. List all ot your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. li a creditor has more than one
nonprion`ty unsecured claim, list the creditor separately for each claim For each claim llsted, identify what type of claim it ls. Do not list claims already
included in Patt 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.|1 you have more than three nonpriQrity unsecured

claims fill out the Continuation Page of Part 2.

E US Dept of Education

 

 

 

No'ipriority Creditor's Name

2505 S Finley Rd

Number S\feet

Lombard |L 60148
City State ZlP Code

Who incurred the debt? Check one

w Debtor 1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

a At least one of the debtors and another

EJ cheek if this claim is ror a community debt

ls the claim subject to offset?

w No
n Yes

 

Specialized Collection Systems

Last4 digits of account number _8 9 _6_ _4

 

Nonpriority Credltors Name

PO Box 441508

 

 

Number Street
Houston TX 77244
City State ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

a Debtor 2 only

a Debtor 1 and Debtor 2 only

m At least one of the debtors and another

D Check if this claim is for a community debt

ls the claim subject to offset?

Z No
m Yes

E Mld-Mich Credit Bureau

Nonpnority Creditors Name
117 E Walker

 

Number Street

St. Johns M| 48879

 

Clty State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

L_..l Debtor 2 only

m Debtor1 and Debtor 2 only

El At least one of the debtors and another

l;l cheek ir this claim is for a community debt

ls the claim subject to offset?

q No
cl Yes

Offlcial Form 106E/F

Schedu|e EIF: Creditors Who Have Unsecured Claims

total dam

Last 4 digits of account number_ 18 292.00

___ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

m Contlngent
Cl unliquidated
n Disputed

Type of NONPRlORlTY unsecured claim:

d Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Deth to pension or prolit-sharing plans, and other similar debts
El other specify

 

s 60.6"6"`

when was the debt incurred? 05/07/2014

As of the date you fi|e, the claim is: Check all that apply.

n Contingent
Cl unliquidated
El Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

iii erie emery Collectien-Fs Radieloqy PC

Last 4 digits of account number _Q _Q __6_ _Q 80_00
When was the debt incurred? 07/31/2013 _

As of the date you file, the claim is: Check all that apply

n Contingent
C] unliquidated
n Disputed

Type of NCNPR|ORlTY unsecured claim:

Cl Student loans

0 Obligations arising out of a separation agreementh divorce
that you did not report as priority claims

l;l Debts to pension or profit-sharing plans_ and other similar debts

ll other specify Cgllection-Cap Lab PLC

page3_ or 1£

Case: 18- -05330-jtg Doc #: 21 Filed: 01/11/19 Page 4 of 14

Debtor1
mm inaction LulN¢rrlo

Christine S Van

Case number alimony 18° 5330

m¥our NONPRlORlTY unsecured Cl¢lms - Contlnuotlon Page

 

Al'lnr listing any entries on this page. number them beginning wlth 4.4, followed by 4.5, and no lorth.

 

4.4

 

 

 

RMP Services
Nomnomy Cretilor‘n Nnme

8155 Executive Court, Ste 10
Nurnber Str\ol
Lansing Ml 4891 7

 

City Stnle ZlP Code

Who incurred the debt? Check one

q Debtor1 only

a Debtor 2 onty

0 Debtor1andDebtor2only

n At least one of the debtors and another

n Check if this claim is l‘or a community debt
ls the claim subject to offset?

villa
DYes

RMP Servlces

Nonprion'ty Creditor's Name
8155 Executive Court Ste 10

Number Street

Lansing M| 48917

City State ZlP Code

Who incurred the debt? Check one.
q Debtor 1 only
Cl Demorz only

n Debtor 1 and Debtor 2 only
0 At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

g No
n Ves

H&R Accounts lnc
Norlpriority Credrtol*s Name

5320 22nd Ave
Numbe¢ street

Mo|ine lL
city State

61265

ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

0 At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

m No
cl Yes

Offlcia| Form 106E/F

Lasl 4 digits ol account number _O_ ~Q_ § _‘:1_ 3
When was the debt incurred? 05/02/2010__6_
As of the date you flle, the claim is: Check all that apply
n Contingent
l;l unliquidaled
El Dlspuled
Type of NONPRlORlT¥ unsecured claim:
n Student loans
n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or pront-sharing plans, and other siml|ar debts
91 Olher. sped~MQBa§@logy
Last 4 digits of account number 1 l _3_ __1_ $
When was the debt incurred? 05/09/2014
As of the date you file, the claim is: Check all that apply
El Contingent
Cl unliquidated
n Disputed
Type of NONPRlORlTY unsecured claim:
El Student loans
m Obligations arising out of a separation agreement or divorce that
you did nol report as priority claims
l;l Deth lo pension or profit-sharing plans, and other similar debts
El other Speclry Collection-Emer enc De t
$

Last 4 digits of account number __O_ g l l
When was the debt incurred? 06/18/201 8

As of the date you fi|e, the claim is: Check all that apply.

0 Contingent
l`_`| unliquidated
n Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debls to pension or pront-sharing plansl and other similar debts

ii olner.speclry Col|ection-Mercy Hea|th

Schedule ElF: Creditors Who Have Unsecured Claims

Total claim

181.00

376.00

' "7`£1`8."60

page€_ of1`4

Debtor1

Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 5 of 14

Christine S. Van

Fi\t Name Mldde Name thl N\mo

Case number lrlnmn 18-5330

¥our NONFRIOR|T¥ Unsecured Clllml - €ontlnultlon Page

Al'ter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so lorth.

 

4.7

 

 

 

Ofncial Form 106E/F

Helvey & Assoc
Nonpn'orlty Cmdilor's Name

1015 E. Center

 

Number Street

Warsaw lN 46580

 

City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

d No
l:l Yes

Keybridge Medical Review

Nonpn`ority Creditors Name

2244 Baton Rouge

 

Number Street

Lima OH 45802

 

City Stale ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

El Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl cheek if this claim is rcra community debt

ls the claim subject to offset?

w No
0 Yes

A||ied Buslness Services
Nonpriority Creditors Name

400 A||ied Ct

Number Street

Zeeland Ml

City State

49464

ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

m Debtor 2 only

C] Debtor1 and Debtor2 only

n At least one of the debtors and another

El check innis claim is for a community debt

ls the claim subject to offset?

g No
a Yes

lo
lo
|_.t
lo

Last 4 digits of account number

when was the debt incurred? M

As of the date you file, the claim is: Check all dial apply

n Contingent
U unliquidated
U Disputed

Type of NONPRlORlTY unsecured claim:

El Student loans

[:l Obligatl`ons arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or protit-sharing plans, and other similar debts

91 other specify&>"_eMMrgy

Last4 digits of account number 1 _Z_ l _1_

03/16/2017

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y_

El Contingent
n Unliquidaled
l;l Disputed

Type of NONPRlORlTY unsecured claim:

Cl Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or pront-shan'ng plans, and other similar debts

El other. speeiry Col|ection-Scott D. Burgess

Last 4 digits of account number 1 l § l

04/10/2017

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

n Contingent
El unliquidated
m Disputed

Type of NONPRlORlTY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Deth to pension or profit-sharing plans, and other similar debts

a other wecin

Schedule ElF: Creditors Who Have Unsecured Claims

Total claim

s 638.00

s 40.00

3 111_00

page5_ or 1`4

Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 6 of 14

conrail Christine S. Van
F\‘M‘Nm initio N\rm Lul Name

Your NCNFRlCRlTY Unsecured Claims - Contlnuatlon Page

Case number l)rm»vn)

 

 

At’ter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

§
A||ied Business Services

 

When was the debt lncurred?

 

 

Nonpnority Crsdllor`s Name

400 A||ied Ct

Number Strpet

Zeeland M| 49464
City State le’-’ Code

Who incurred the debt? Check one.

a Debtor1 only

0 Debtor 2 only

n Debtor 1 and Debtor 2 only

a At least one of the debtors and another

a Check ifthis claim is for a community debt

ls the claim subject to offset?

ill rio
n Yes

 

Allied Business Services
Nonpn'on'ty Creditoi’s Name

Cl unliquidated

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-shaan plans, and other similar debts

d other speefyM;MeQM_

When was the debt incurred?

 

 

400 A||ied Ct

Number Street

Zeeland Ml 49464
city stale ziP code

Who incurred the debt? Check one_

q Debtor1 only

D Debtor 2 only

Cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

d No
m ¥es

Orbit Leasing|nc.

Nonpriority Creditors Name

PO Box 9534

Number Street

Wyoming M l 49509

City Slate ZlP Code

Who incurred the debt? Check one_

a Debtor1 only

El oeciorz only

n Debtor1 and Debtor 2 only

g At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

w No
m Yes

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims

n Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts

M other specify Collection-Doctors Agproach

Last 4 digits of account number _

When was the debt incurred?

Last4 dlglta 01 account number _Q_ _Q_ l_ _1__ s 69_00

As ot the date you flle, the claim is: Check all that apply

Type of NONPRlORlTY unsecured claim:

Last4 digits of account number l 1 l_ l $ 300.00

As of the date you file, the claim is: Check all that apply_

Type of NONPRlORlTY unsecured claim:

8-5330
Total claim
04/10/2017
01/15/2014
‘$ `4:`875".§5`

01/01/2008

As of the date you lile, the claim is: Check all that app|y_

Type of NONPRlORlTY unsecured claim:

m Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Deth to pension or profit-sharing plans, and other similar debts

il oihe,spe¢iiy Lawsuli-oa-tzsre-GC

page€` oi1`4

Case:18-05330-th Doc #:21 Filed: 01/11/19 Page 7 of 14

Debtor 1 Christine S. Van

Flet Name Mldlh Name Lni Name

Case number wlncwni 18'5330

¥our NONPRloRlT¥ Unsecured Claims - Continu¢tlon Page

 

A&er listing any entries on this pnge, number them beginning wlth 4.4. followed by 4.5, and so forth. Total claim

 

4
3 Paramount Collection Service
Nonpriorlty Cnetitei‘a Name

307 Center Street
Number Street

N. Muskegon Ml

City State

Who incurred the debt? Check one_

a Debtor 1 onty

n Debtor 2 only

U Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

id ira
n Yes

 

H&R Accounts

Nonpriority Creditor’s Name

5320 22nd Ave

49445

ZlP Code

 

Number Street

Moline lL

61265

 

City State

Who incurred the debt? Check one.

q Debtor 1 only

a Debtor 2 only

n Debtor 1 and DebtorZ only

m At least one of the debtors and another

Cl check ir this claim is for a community debt

ls the claim subject to offset?

q No
n Yes

Spectrum Health

Nonpnority Crethloi's Name

PO BOX 120153

Number Street

Grand Rapids Ml

C'fy state

Who incurred the debt? Check one.

q Debtor 1 only

C] Debtor 2 only

El Debtor1 and Debtor 2 only

0 At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

id rio
U Yes

ZlP Code

49528

ZlP Code

Last 4 digits of account number _6__ l l _6_ 3 66,00

When was the debt incurred? 05/21/2018

As of the date you file, the claim is: Check all that apply

m Contingent
E] unliquidated
m Disputed

Type of NONPRlORlTY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or pront-sharing plans, and other similar debts

di oihei_speaiy Collection-St iviags Hith

Last4 digits of account number 1 l _4_ g $ 1,304.17
When was the debt incurred? 03/23/2018

As of the date you file, the claim is: Check all that app|y_

El Contingent
El unliquidated
Cl Disputed

Type of NONPRlORlTY unsecured claim:

El Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plansl and other similar debts

q other speedy Collection-Mercy Health

5 700
Last 4 digits of account number g § _‘]_ _9_ "_

when was the debt incurred? 04/10/2018

As of the date you file, the claim is: Check all that appiy_

n Contingent
Cl unliquidated
a Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l Debts to pension or profit-sharing plans, and other similar debts

521 Oiher. Speciry Medical

OfflCia| Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page7` of 14

Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 8 of 14

Debtor1 Christl'ne S.
thNome MNom¢

Case number miami 18’5330

Your NONPR|0R|T¥ Unsecured Claims - Contlnuatlon Page

 

Al’ller listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so lorth.

 

4
31 NPAS. |nc. Mercy Health
Nom)¢'iorlty Creditors Name
PO Box 99400
Number Stloel
Louisville
city

Who incurred the debt? Check one

q Debtor 1 only

0 Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

MNO
n Yes

 

NPAS, lnc_ Mercy Health

Nonpriority Creditors Name
PO Box 99400
Number Street
Louisville

City

Who incurred the debt? Check one.

a Debtor1 only

E| Debtorz only

n Debtor 1 and Debtor 2 only

13 At least one of the debtors and another

Cl Check it this claim is for a community debt

ls the claim subject to offset?

g No
n Yes

NPAS, lnc. Mercy Health

40269

ZlP Code

40269

ZlP Code

 

 

 

Nonpn`on'ty Creditors Name

PO Box 99400

Number Street

Louisvl`l|e 40269
City ZlP Code

Who incurred the debt? Check one_

m Debtor 1 only

U Debtor 2 only

m Debtor1 and Debtor 2 only

0 At least one of the debtors and another

Cl check if this claim is for a community debt

ls the claim subject to offset?

g No
a Yes

Offlcl'al Form 106EIF

Last4 digits ol account number 8 _1_ _Q_ l

When was the debt incurred? 08/25/2018

As of the date you file, the claim is: Check all that apply

n Contingent
El unliquidated
a Disputed

Type of NONPRlORlTY unsecured claim:

m Student loans

D Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

0 Debts to pension or protit-sharing plans, and other similar debts

g Other. Specl'fy MedlCal

Last 4 digits of account number l 1 i l
when was the debt incurred? 03/30/2018

As of the date you file, the claim is: Check all that apply

m Contingent
l;l unliquidated
El Disputed

Type of NONPRlORlTY unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or pmm-sharing plans, and other similar debts

other specify medical

Last 4 digits of account number l l l i
When was the debt incurred? 10/01/2018

As of the date you file, the claim is: Check ali that appiy.

n Contingent
Cl unliquidated
n Disputed

Type of NONPRlORlTY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

L:] Debts to pension or prolit-shaiing plans and other similar debts

m Other.Specify medical

Schedule ElF: Creditors Who Have Unsecured Claims

Total claim

, 4,901.08

s 100.26

` § 1'00'_'0'0"`

pageS_ 0{1\4

Case:18-05330-th Doc #:21 Filed: 01/11/19 Page 9 of 14

center 1 Christine S. Van
th Name Middo Name l.ul Nom¢

¥our NoNFRlCR|TY Unsecured Claims - Contlnuatlen Page

Caae number miami 18-5330

 

Al'ter listing any entries on this poge, number them beginning wlth 4.4, followed by 4.6. and so forth.

 

§
NPAS, lnc. Mercy Health

 

When was the debt incurred?

 

 

Nonpdonty Creditors Name

PO Box 99400

Number Streel

Louisvil|e KY 40269
City State ZlP Code

Who incun'ed the debt? Check one.

a Debtor 1 only

El Debtor 2 only

a Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim is tor a community debt

is the claim subject to offset?

d No
a Yes

 

Rocl<ford Ambulance
Nonpn'onty Creditors Name

n Unliquidated

When was the debt incurred?

 

 

8450 Shaner Ave NE

Number Street

Rockford Ml 49341
city state ziP code

Who incurred the debt? Check one.

a Debtor 1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

21 ila
n Yes

Last 4 digits of account number l l l _3_

Mercy Health Healthcare Equipment

Nonprion'ty Creditor‘s Name

1124 E Hack|ey Ave.

El unliquidated

When was the debt incurred?

 

 

Number Slfeet
Muskegon M| 49444
City State ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

n Debtor 2 only

L_l Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

d No
a Yes

Ofl"icial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims

ill unliquidated

Total claim

Last 4 digits ol account number _8_ _2_ _5_ _9_ s 10()_00

09/16/2018

As of the date you file, the claim is: Check all that apply

Type of NONPRlORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or protit-sharing plans, and other similar debts

U other. speory medical

Last 4 digits of account number l g g l $ 89. 30

10/25/2018

As of the date you file, the claim is: Check all that app|y.

Type of NONPRlORlTY unsecured claim:

n Student loans

m Ob|igatlons arising out cfa separation agreement or divorce that
you did not report as priority claims

0 Deth to pension or profit-sharing plans, and other similar debts

g other Speoify medical

$ `Xe§l££`

07/20/2018

As of the date you file, the claim is: Check all that apply

Type of NONPRlORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or pront-shaiing plans, and other similar debts

q other speoiiy medical

page 9` of1`4

Debtor 1 Chrlstine S.

 

Case:lS-OBSSS£#Q Doc #:21 Filed: 01/11/19 Page 10 of 14
1

 

 

 

 

 

 

 

 

 

 

 

 

 

r~...... ....,_i.._ Fl-R’l'ln
th Name lawn mm
mwa Christine S. Van case number rl/i»o~w) 18`3550
mr Name Mldda Name tul Nln\\
m¥our NoNPRlOR|T¥ Unsecured Clelms - Gontlnu¢tlon Page
Atter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. 7°“" dam
- 1 6 9 2
a Mercy Health Physician Partners Last4 digits ot account number ___ __ _ r_ 5 525448
Nonpnonty` ` Creditor's Name
PO Box 14099 When was the debt incurred? M
"'B“"e‘°|;’a$t S""°‘ ME 04915 As of the date you file, the claim is; Check all that apply
City State ZlP Code n Contingent
Cl unliquidated
Who incurred the debt? Check one. E| Disputed
U Deblor 1 only
ll Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor 1 and Debtor 2 only U S¢udem loans
At least one °fme debtors and another U Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did not report as priority claims .
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? l;l Otner_ Specify_________
ii ue
n Yes
Mercy Health Last 4 digits of account number 1 _3_ _0_ _2_ $_M
Nonpriority Creditors Name
1820 44th St SE When was the debt incurred? 10/29/2018
Number Street . . .
Grand Rapids M| 49508 As of the date you file, the claim is: Check all mat apply_
C"y State zlP Code l;\ Conringent
Cl unliquidated
Who incurred the debt? Check one n Disputed
a Debtor1 only
Cl oemerz only Type of NONPRlORlTY unsecured claim:
g Debtor 1 and Debtor 2 only cl Student loans
At \east one of the debtors and anothe' n Obligations arising out of a separation agreement or divorce that
m Check if this claim is tor a community debt you did not repon as priority claims
n Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? g Other_ Specify MediCa|
d No
g Yes
- L '_ 1 § i§6é417`0
JP Recovery Services ast 4 digits of account number _ § l § _
Nonprionty Creditors Name
PO Box 16749 When was the debt incurred? 02/04/2017
Number Street A f m d t n , _
Rocky River OH 441 16 s o e a e you l e, the claim ls. Check all that apply_
City stale zlP code Cl Conlingent
wh _ 7 n Unllquidated
o incurred the debt. Check one_ n Disputed
a Debtor1 only
g Debtor 2 only Type of NONPRlORlTY unsecured claim:
Debtor 1 and Debtor 2 only m
St de t|
n At least one of the debtors and another ur n. oans. » .
a Obllgatlons arising out of a separation agreementh divorce that
m Check if this claim is for a community debt you md not raped as priority claims
l m l _ ' El Deth to pension or prolit-sharing plans, and other similar debts
a e c arm subject to offset? d Oghey` Speciry CO||€CtIOn-Mercy Health
No
m Yes
Oflicla| Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims

page 1`0 0f14

Debtor 1 Christine
th Name Miiiih Name Lnl Nlm¢

Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 11 of 14
S. Van 330

Case number mmr/m 1 '

Your NONPRlORlT¥ Unsecured Clalms - Contlnul¢lon Page

Al°her listing any entries on this pago. number them beginnan wlth 4.4, lollowed by 4.5. and so torth. Total claim

4
Kent Radiology

 

 

 

Nown`orlty Creditors Name

PO Box 5329

Number silva

Saginaw Ml 48603
City slate zll= code

Who incurred the debt? Check one.

q Debtor1 only

13 Debtor 2 only

a %btor 1 and Debtor 2 only

n Al least one of the debtors and another

n Check if this claim is for a community debt
ls the claim subject to offset?

MNo
Cl Yes

CARM

Nonpriority Creditor's Name

1015 Wllcox St

Number Streel

Cadillac Ml 49601

 

City Slale ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

Cl Debtor 2 only

C] Debtor 1 and Debtor 2 only

U At least one of the debtors and another

l:l Check `rfthis claim is for a community debt

ls the claim subject to offset?

 

 

 

g No

Cl Yes

CBCS

Nonpriority Creditors Name

PO Box 2334

Number Street

Columbus OH 43216
City State ZlP Code

Who incurred the debt? Check one.

q Debtor 1 only

n Debtor 2 only

0 Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

w No
m Yes

foiclal Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 dlglts of account number _2_ _Q_ l _§__ s 389.31
When was the debt incurred?

As of the date you file, the clalm is: Check all that apply

m Conlingent
El unliquidated
L_.] Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl Debts to pension or profit-sharing plans, and other similar debts

U.l oiner. spediy Medical

Last4 digits of account number _6__ l 1 _8_ $ 387.00
When was the debt incurred? 07/17/2018

As of the date you file, the claim is: Check all that apply_

n Contingent
El unliquidated
El Disputed

Type of NCNPRIORlTY unsecured claim:

n Student loans

U Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Deth to pension or profit-sharing plans, and other similar debts

El oiher. Specify Col|ection-Kent Radio|ogy

3 354447
Last 4 digits of account number _ ____

When was the debt incurred?

As of the date you file, the claim is: Check all that apply_

n Contingent
U Unllquidated
El Disputed

Type of NONPRlORlTY unsecured claim:

l;l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts

il otherl specify Collection-Spectrum Health

page 1`1 of 1`4

 

Case:lS-OBSSO-jtg Doc #:21 Filed: 01/11/19 Page 12 of 14

oeineri Christine S. Van
th Name media Name Lu\ Name

Case number W,,.,w,,} 15'3550

Your NGNPR|°RITV Unsecured Claims - Contlnuatlon Fago

 

After listing any entries on this pago, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

431
Hunhquwn Bank

 

 

Nowrionty Creditor‘s Name

PO Box 1 558

Number Street

Columbus OH 43216
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 oniy

n Debtor 1 and Debtor 2 only

n Al least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

 

 

 

 

iii he

[:l Yes

Nonpriority Creditors Name

Number Street

City stale ziP code

Who incurred the debt? Check one.

El Debtor1 only

El Debtorz only

Cl Debtor1 and Debtor 2 only

m At least one of the debtors and another

a Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

l:j,__

 

Nonpriority Creditors Name

 

Number Street

 

City Stete ZlP Code

Who incurred the debt? Check one.

n Debtor 1 only

ij Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

ij Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

Oft'lcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of account number l l § __6_ s 11200_50
When was the debt incurred? 12/01/2018
As of the date you file, the claim is: Check all that apply
i;l Conlingent
El unliquidated
ij Disputed
Type of NONPRlORlTY unsecured claim:
0 Student loans
n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
El Debts to pension or pront-sharing plans, and other similar debts
other specify overdrawn account
Last 4 digits of account number _ _ ___ __ $
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
ij Contingent
Cl unliquidated
Cl Disputed
Type of NONPRlORlTY unsecured claim:
n Student loans
m Obligations arising out of a separation agreementh divorce that
you did not report as priority claims
n Deth to pension or profit-sharing plans, and other similar debts
Cl other specify
$

Last 4 digits of account number __
When was the debt incurred?

As of the date you file, the claim is: Check all that apply_

m Conlingent
l:\ Unliquidaled
n Disputed

Type of NONPRlORlTY unsecured claim:

El Student loans

Cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl Debts to pension or profit-sharing plans, and other similar debts

l:l Other. Speclfy

page 12 of 1`4

’Ufilclaeromi‘fUBElF

Case:18-05330-jtg Doc #:21 Filed: 01/11/19 Page 13 of 14

Debtor1 Christlne S. Van

Flm Name Mldd¢ Name Lnl Name

Caee number lirknowh) 18'5330

mist others to 80 Notlliod About l Debt Thlt ¥ou Already Llstod

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Part.s 1 or 2. For

example. if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2. then list the collection agency here. Simllarly, if you have more than one creditor for any 01 the debts that you listed in Paris 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not t"lil out or submit this page.

Jeremy M_ Chisholm

 

Name

PO Box 173

 

Number Street

 

Byron Center M| 49315

 

City State ZlP Code

875 District Court

 

Name

605 N Birch Street

 

Number Street

 

Kalka$ka M| 49646

 

City State ZlP Code

 

Name

 

Number Street

 

 

City Siale ZlP Code

 

Name

 

Number Street

 

 

City State ZlP Code

 

Name

 

Number Street

 

 

utility b 7 f 'Slate le?f(§ode

 

Name

 

Number Street

 

 

city state ;_iP code

 

Name

 

Number Street

 

 

City Stale ZlP Code

‘Bcheddie‘E|F:’Orsdltors‘Who“Have* lhisecured't)laims

On which entry in Part1 or Part 2 did you list the original creditor?

Line 4.12 of (Check one): Ei Part 1: Creditors with Priority Unsecured Claims
a Part 21 Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number __ ___ __ _

On which entry in Part1 or Part 2 did you list the original creditor/2

Line 4.12 or (cheek one): El Part 1; creditors with Priority unsecured claims

w Part 2: Creditors with Nonpriority Unsecured
Claims

Last4 digits of account number_ __ _ _

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims

Cl Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number_ ___ __ _
On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

Cl Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _ _ _ _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims

Cl Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims

\;l Part 2: Creditors with Nonpriority Unsecured
Claims

Last4 digits of account number _ ___ __ _
On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims

l;i Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number __ _ __ __

easé‘-_&e.té._

Case: 18- -05330-jtg Doc #: 21 Filed: 01/11/19 Page 14 of 14

Case number (rim,i; 18' 5330

Debtor1 Christine S Van
th Name Midds Name Lssi Name

 

m Add the Amoimts for lach Type of Unsecured Clslm

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Ofiicial Form 106E/F

Ga.

60.

6d.

6e_

6h.

6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add another priority unsecured claims
Wn'te that amount here.

Total. Add lines 63 through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims
Wn'te that amount here.

6j. Total. Add lines 6f through 6i.

6a

6b.

60.

6d.

6e.

6i.

Gg.

6h.

6i.

6j.

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
$ 0_00
+ $ 0.00
$ 0.00
Total claim
$ 18,292_00
$ 0_00
3 0.00
+ $ 20,691_86
s 38,983.86

 

 

Schedule ElF: Creditors Who Have Unsecured Claims

page 14 of 1`4

